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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



BLACKBIRD TECH LLC,                             :
                                                :
                       Plaintiff,               :
                                                :
               v.                               :       Civil Action No. 15-56-RGA
                                                :               Consolidated
FEIT ELECTRIC COMPANY, INC.,                    :
                                                :
                       Defendant.               :




                                                ORDER

       This case is scheduled for a PTC on December 21, 2020, and a jury trial on January 11,

2021. At my direction, the parties submitted a status report on November 12, 2020. (D.I. 173).

The parties identify ten possible “live” trial witnesses. Six of them live in California or

Massachusetts, and another two live in the Southwest. Defendant Feit requests a postponement,

which Plaintiff does not oppose. (Id. at 2).

       The parties, as requested, address other topics in the status report. The only one

necessary to comment on now is that the parties’ requests for trial time are unrealistic for a one

asserted claim case involving comparatively simple technology. The parties should anticipate

being given nine hours per side for openings, direct, and cross. It would be premature to address

the other issues as they are circumstances—i.e., COVID-19—dependent.

       The Court will GRANT the request to postpone the trial. The Court will keep the PTC

date, however, as all pending motions have been resolved, the PTC will be held remotely, and it




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makes sense to get this case ready for trial.

       IT IS SO ORDERED this 23rd day of November, 2020.


                                                              /s/ Richard G. Andrews
                                                              United States District Judge




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